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UN|TED STATES D|STR|CT COURT
WESTERN D|STR|CT OF TENNESSEE

 

MEMPHIS D|VlSlON
UN|TED STATES OF AMER|CA
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JL'LH t..,_\ DFST C
'V' 2203CR20363-O1-D h n "Y;; '="i'i. `»`F `\»1£»`"HTIS

RODNEY TATE

Jerl_'y Stokes, CJA
Defense Attorney

100 N. Main St., Ste. 2601
Memphis, TN 38103

 

JUDGMENT |N A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the |ndictment on December 02, 2004.
According|y, the court has adjudicated that the defendant is guilty of the following
offense(s):

Date Count
Title & section MMY Offense Numberls)
MQB
21 U.S.C. § 841(a)(1) Un|awfu| Possession with intent to 09/30/2003 1

Distribute Cocaine

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory
Victims Restitution Act of 1996

|T |S FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district Within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of |mposition of Sentence:
Defendant’s Date of Birth: 11/19/1967 l\/|ay12, 2005
Deft’s U.S. |V|arsha| No.: 10765-042

Defendant’s |Vlai|ing Address:
P.O. Box 14

Chaneston, wis 38921 M A,j/C

’ ' / Br-;RNICE s DONALD
uNlTED sTATEs DlsTRlcT JuDeE

May 35 , 2005

Thls document entered on the docket sheet in compliance
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Case No: 2:030R20363-O1 Defendant Name: Rodney TATE Page 2 0f4
lMPR|SONMENT
The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 20 |V|onths as to Count 1 of the lndictment;7 months
as to a Supervised Release Violation received from the Northern District of Mississippi to
run consecutive|y, for a total term of 27 Months.

The defendant is remanded to the custody of the United States Marsha|.

RETURN

| have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UN|TED STATES MARSHAL
By:

 

Deputy U.S. |V|arsha|

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Case No: 2:03CR20363-01 Defendant Name: Rodney TATE Page 3 of4

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 3 years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave thejudicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation oft"lcer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controtied substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, usedl
distributedl or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation ofl"rcer;

9. The defendant shall permit a probation officer to visit him or her at any time at horne or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation ocher;

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Case No: 2:03CR20363-01 Defendant Name: Rodney TATE Page 4 of 4

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics, and shall permit
the probation officer to make such notifications and to confirm the defendant's compliance with such
notification requirement.

13. if this judgment imposes a fine or a restitution obligationl it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminal l\ilonetary Penalties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

The defendant shall participate in drug testing and treatment programs as directed by the
Probation Officer;

The defendant shall obtain and maintain full-time employment;

The defendant shall cooperate in the collection of DNA as directed by the Probation Officer.

CR|M|NAL MONETARY PENALT|ES

The defendant shall paythefollowing total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Totai Fine Tota| Restitution
$100.00

The Special Assessment shall be due immediatelyl

FlNE
No fine imposed.

REST|TUT|ON
No Restitution was ordered.

   

UNITED sATE DISTRICT COURT - WETERN DISRTCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 62 in
case 2:03-CR-20363 Was distributed by faX, mail, or direct printing on
June 1, 2005 to the parties listed.

 

 

.1 erry Stokes

LAW OFFICE OF JERRY STOKES
100 N. Main St.

Ste. 2601

1\/1emphis7 TN 38103

Thomas A. Colthurst

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

